      Case 5:14-cr-40005-DDC          Document 525        Filed 11/13/15      Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                   Case No. 14-40005-DDC

MICHELLE REULET (03),
TERRIE ADAMS (06), and
CRAIG BROOMBAUGH (10),

       Defendants.


                               MEMORANDUM AND ORDER

       On October 23, 2015, the Court held a hearing on three motions filed by defendants: (1)

Motion to Exclude Government’s Expert, I.T. and Law Enforcement Testimony (Doc. 478); (2)

Motion to Exclude and/or Limit Expert Testimony (Doc. 479); and (3) Amended Motion to

Exclude Government’s Analogue Expert Testimony (Doc. 484). The government filed its

Response in Opposition to these motions on October 1, 2015 (Doc. 493). At the hearing, the

Court informed the parties that it would rule these motions in stages. This Order decides the

arguments directed at law enforcement testimony addressed in the first of the three motions,

defendants’ Motion to Exclude Government’s Expert, I.T. and Law Enforcement Testimony

(Doc. 478).

       A. Legal Standard for Admissibility of Expert Testimony

       The Court has a “gatekeeping obligation” to determine the admissibility of expert

testimony. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999) (citing Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579, 589 (1993)). The Court must perform its gatekeeping role for

all expert testimony, not just scientific expert testimony. See United States v. Garza, 566 F.3d


                                                1
      Case 5:14-cr-40005-DDC             Document 525         Filed 11/13/15       Page 2 of 15




1194, 1199 (10th Cir. 2009). And, the Court has broad discretion when deciding whether to

admit or exclude expert testimony. Kieffer v. Weston Land, Inc., 90 F.3d 1496, 1498 (10th Cir.

1996) (quoting Orth v. Emerson Elec. Co., 980 F.2d 632, 637 (10th Cir. 1992)).

        The admissibility of expert testimony is governed by Federal Rule of Evidence 702,

which provides:

        A witness who is qualified as an expert by knowledge, skill, experience, training,
        or education may testify in the form of an opinion or otherwise if:

                (a) the expert’s scientific, technical, or other specialized knowledge will
                    help the trier of fact to understand the evidence or to determine a fact
                    in issue;

                (b) the testimony is based on sufficient facts or data;

                (c) the testimony is the product of reliable principles and methods; and

                (d) the expert has reliably applied the principles and methods to the facts
                    of the case.

Fed. R. Evid. 702. The Court must apply a two-part test to determine admissibility under this

rule. Conroy v. Vilsack, 707 F.3d 1163, 1168 (10th Cir. 2013).

        First, it must decide “whether the expert is qualified ‘by knowledge, skill, experience,

training, or education’ to render an opinion.” Id. (quoting United States v. Nacchio, 555 F.3d

1234, 1241 (10th Cir. 2009) (quoting Fed. R. Evid. 702)). Second, the Court “‘must satisfy

itself that the proposed expert testimony is both reliable and relevant, in that it will assist the trier

of fact, before permitting a jury to assess such testimony.’” Id. (quoting United States v.

Rodriguez–Felix, 450 F.3d 1117, 1122 (10th Cir. 2006) (further citations omitted)).

        To qualify as an expert, a witness must possess “such skill, experience or knowledge in

that particular field as to make it appear that his opinion would rest on substantial foundation and

would tend to aid the trier of fact in [its] search for truth.” LifeWise Master Funding v. Telebank,



                                                    2
      Case 5:14-cr-40005-DDC           Document 525         Filed 11/13/15      Page 3 of 15




374 F.3d 917, 928 (10th Cir. 2004) (internal quotation and citation omitted). And, to determine

whether the expert’s testimony is reliable, the Court must assess “whether the reasoning or

methodology underlying the testimony is scientifically valid and . . . whether that reasoning or

methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at 592–93.

       In Daubert, the Supreme Court identified a non-exhaustive list of factors that trial courts

may consider when determining whether proffered expert testimony is reliable under Fed. R.

Evid. 702: (1) whether the theory used can be and has been tested; (2) whether it has been

subjected to peer review and publication; (3) the known or potential rate of error; and (4) the

theory’s general acceptance in the scientific community. Id. at 593–94. The Supreme Court has

emphasized, however, that these four factors are not a “definitive checklist or test” and a court’s

gatekeeping inquiry into reliability must be “tied to the facts of a particular case.” Kumho Tire,

526 U.S. at 150. In some cases, “the relevant reliability concerns may focus upon personal

knowledge or experience,” instead of the Daubert factors and scientific foundation. Id. A

district court should apply this traditional Rule 702 analysis when opinion testimony is based

solely on experience or training, not a scientific methodology or technique. Kinser v. Gehl Co.,

989 F. Supp. 1144, 1146 (D. Kan. 1997).

       A traditional Rule 702 analysis is necessary when evaluating expert testimony offered by

law enforcement. The Tenth Circuit has “long recognized that police officers can testify as

experts based on their experience” because jurors typically are not familiar with the “criminal

underworld.” United States v. Kamahele, 748 F.3d 984, 998 (10th Cir. 2014). But, “[a]s part of

the pretrial evaluation, the trial court . . . must determine whether the expert opinion is ‘based on

facts that enable the expert to express a reasonably accurate conclusion as opposed to conjecture

or speculation . . . .’” First Savings Bank, F.S.B. v. U.S. Bancorp, 117 F. Supp. 2d 1078, 1083



                                                  3
       Case 5:14-cr-40005-DDC         Document 525        Filed 11/13/15      Page 4 of 15




(D. Kan. 2000) (quoting Kieffer, 90 F.3d at 1499 (additional citations omitted)). The Rule 702

analysis “is a flexible one” and its focus “must be solely on principles and methodology, not the

conclusions that they generate.” Daubert, 509 U.S. at 594–95.

       “The proponent of expert testimony bears the burden of showing that the testimony is

admissible.” Conroy, 707 F.3d at 1168 (citing Nacchio, 555 F.3d at 1241). But, “rejection of

expert testimony is the exception rather than the rule.” Fed. R. Evid. 702 advisory committee’s

note (2000). While Daubert requires the Court to act as a gatekeeper for the admission of expert

testimony, “[v]igorous cross-examination, presentation of contrary evidence, and careful

instruction on the burden of proof” remain “the traditional and appropriate means of attacking

shaky but admissible evidence.” Daubert, 509 U.S. at 596 (citation omitted).

       Here, defendants request more information from the government about any law

enforcement officers’ opinions and the underlying principles and methodology they used in

making any opinions so that they may determine whether to argue for inadmissibility under Rule

702.

       B. Defendants’ Motion to Exclude Law Enforcement Testimony

       The government has charged defendants with conspiring to traffic in controlled

substances and controlled substance analogues, mail fraud, and related crimes. The government

identified nine law enforcement officers in its Rule 16 notices of expert testimony. See Doc. 291

at 17–18; Doc. 302 at 2–3. The notices disclosed that the law enforcement officers may testify

about their expertise investigating the crimes charged and listed ten possible topics about which

they may testify. See Doc. 302 at 2–3. According to the notices, the basis of the officers’

testimony “will be their knowledge, skill, experience, training, and education,” and the testimony

“will include specialized knowledge and expert opinion, as well as factual information.” Id. at 3.



                                                4
      Case 5:14-cr-40005-DDC           Document 525         Filed 11/13/15      Page 5 of 15




       Defendants argue that the information provided about the officers’ testimony is

insufficient under Federal Rule of Criminal Procedure 16(a)(1)(G). See Doc. 478 at 3–5. They

assert that where an expert is going to provide an opinion or conclusion, the government must

provide a summary describing the expert’s opinions, the data or facts upon which they have

relied, and the bases or reasons for those opinions. Id. at 3. Here, the government provided

defendants just with a list of topics the officers may testify about and copies of the officers’ CVs.

Id. They argue that the government has not yet met its burden for admitting the proffered expert

testimony under the Rule 702 factors. Id. at 4. Defendants’ ask the Court to order the

government to provide more detailed Rule 16 summaries so that they may assess whether to

challenge admissibility of this testimony under Daubert and the Rule 702 factors. Id. at 5.

       The government argues in response that a Rule 702 or Daubert analysis is not required

for factual testimony. Doc. 493 at 8. The government asserts that all nine law enforcement

officers are factual witnesses who will not offer any opinion testimony, but will testify “through

the lens of, and on the basis of, acquired expertise.” Id. at 10. This testimony “will be offered in

the context of their education, experience, training, and expertise as law enforcement officers,”

but will not amount to opinion testimony. Id. at 25. The government also argues that their

expert notices were provided in December 2014 and defendants never asked for additional

information about expert testimony before filing their motion. Id. at 10. Thus, the government

contends that defendants’ insufficient notice argument is unjustified.

       While defendants should have sought more fulsome disclosures from the government

sooner than they did, the Court is not convinced that the Rule 16 notices were sufficient and

finds that the government now has received notice that their disclosures need to be

supplemented. For the reasons set forth below, and depending on the precise testimony that the



                                                  5
      Case 5:14-cr-40005-DDC           Document 525        Filed 11/13/15      Page 6 of 15




government intends to offer, the Court concludes that the government may need to provide

defendants with more detailed summaries about the law enforcement officers’ intended

testimony.

       C. The Government’s Required Disclosure Under Federal Rule of Criminal
          Procedure 16(a)

       Federal Rule of Criminal Procedure 16(a)(1)(G) provides that:

       [a]t the defendant’s request, the government must give to the defendant a written
       summary of any testimony that the government intends to use under Rules 702, 703, or
       705 of the Federal Rules of Evidence . . . . The summary provided under this
       subparagraph must describe the witness’s opinions, the bases and reasons for those
       opinions, and the witness’s qualifications.

Fed. R. Crim. P. 16(a)(1)(G). This rule affords a defendant the opportunity to learn who the

government expects to call as experts at trial by requiring notice of their qualifications. Nacchio,

555 F.3d at 1237. This then “permit[s] the requesting party to determine whether in fact the

witness is an expert within the definition of Federal Rule of Evidence 702.” Id. (quoting Fed. R.

Crim. P. 16 advisory committee’s note (1993)). The requesting party is entitled to a summary of

the testimony and, “perhaps most important, the requesting party is to be provided with a

summary of the bases of the expert’s opinion.” Id. (emphasis added in original).

       Judge McConnell’s dissenting opinion in Nacchio thoroughly describes the difference

between criminal procedure discovery and civil procedure discovery. While Judge McConnell’s

commentary is contained in a dissenting opinion, it accurately describes the state of the law as it

exists today:

       [T]he rules of criminal procedure, unlike the rules of civil procedure, do not require a
       criminal defendant to establish the foundation for expert testimony through advanced
       written submissions. . . .

       In civil cases, both sides are entitled in advance of trial to know and respond to evidence
       that will be presented by the other side, including expert testimony. In criminal cases, the
       defendant is entitled to keep his cards close to the vest; he may not be required to disclose

                                                 6
      Case 5:14-cr-40005-DDC           Document 525        Filed 11/13/15      Page 7 of 15




       his evidence or trial strategy until after the government has presented its case. These
       differences are reflected in the discovery rules.

       Under Rule 26(a)(2) of the Federal Rules of Civil Procedure, any party who wishes to use
       a retained expert must give the opposing party in advance of trial a written expert report
       prepared and signed by the witness, containing a “complete statement” of the witness’s
       opinions and the “basis and reasons for them”; all data, other information, and exhibits on
       which the testimony is based; and the witness’s qualifications, publications, previous
       testimony, and compensation statement. . . .

       In criminal cases, by contrast, neither side has a general right to discover the other’s
       evidence, though the defendant is entitled to request and object to certain specific types
       of evidence from the prosecution. . . .

       Rule 16 of the Federal Rules of Criminal Procedure creates an exception to the usual rule
       that defendants need not provide notice of their intention to offer expert witnesses.
       Under Rule 16(b), if the defendant requests disclosure of certain evidence and the
       government complies, the defendant becomes obligated to make certain disclosures in
       return. Specifically, if the defendant requests and receives a written summary of any
       expert testimony the government intends to introduce, the defendant must provide a
       similar notice of any testimony he intends to use. These written summaries must include
       a description of the witness’s opinions, the bases and reasons for those opinions, and the
       witness’s qualifications. The required “written summary,” however falls far short of the
       “complete statement” required of litigants in civil cases. In particular, Rule 16 does not
       require experts in criminal cases to provide written reports explaining their opinions or to
       make a written proffer containing the information required under the civil rules.

Nacchio, 555 F.3d at 1259–1262 (McConnell, J. dissenting) (emphasis added) (internal citations

omitted).

       Rule 16 thus requires a summary of the testimony, and the bases and reasons for any

opinions, but does not require the parties to provide all of the data or other information

considered to form the opinions. United States v. Durante, No. 11-277 (SRC), 2012 WL

503657, at *1 (D.N.J. Feb. 15, 2012) (citing United States v. Nacchio, 519 F.3d 1140, 1152 (10th

Cir. 2008), vacated in part on other grounds on rehearing en banc, 555 F.3d 1234); see also

United States v. Biglow, No. 07-10221-MLB, 2012 WL 887485, at *1 (D. Kan. Mar. 15, 2012)

(finding supplemental disclosures were unnecessary for police testimony under the relaxed

criminal standard). The parties also need not describe the witness’s methodology. Durante,

                                                 7
      Case 5:14-cr-40005-DDC            Document 525          Filed 11/13/15   Page 8 of 15




2012 WL 503657, at *1. But a notice that merely states the subjects of what a witness may

discuss without providing the witness’s opinions or the bases and reasons for the opinions is

“facially deficient.” United States v. Hoffecker, 530 F.3d 137, 186 (3rd Cir. 2008).

       Notices containing generic, boilerplate expert testimony that any law enforcement officer

could offer in any drug trafficking case do not suffice under Rule 16. See United States v.

Tunkara, 385 F. Supp. 2d 1119, 1120 (D. Kan. 2005). Here, the notices provided are partially

tailored to this particular case. They do not, however, set out any opinions or the bases and

reasons for any opinions. See Doc. 291 at 17–18; Doc. 302 at 2–3. Thus, to the extent the law

enforcement officers will provide opinions at trial, the government’s disclosures are inadequate.

While the government need not provide defendants with the data or facts on upon which the

experts rely, it must provide a summary of the testimony that describes any opinions and the

bases or reasons for those opinions.

       This begs the question whether the police officers’ trial testimony is opinion testimony.

United States v. Shepard provides guidance on this issue, describing when a Rule 16 summary is

required. 188 F.R.D. 605 (D. Kan. 1999). In Shepard, the court considered whether Rule 16’s

disclosure requirements applied to testimony based on police officers’ observations and

experiences. Id. at 608. The court found that where an officer testifies using specialized

knowledge that does not “relate to matters common enough to qualify as lay opinion testimony

. . . Rule 702 is not trumped simply because the witness also perceived the facts on which an

opinion is to be rendered.” Id. The government thus had to comply with Rule 16 if it was going

to use such evidence during its case-in-chief at trial. Id.

       But Shepard also recognized that “some testimony may not qualify as either a lay or

expert opinion if it is simply a witness’s statement of a personal experience with a subject



                                                  8
      Case 5:14-cr-40005-DDC            Document 525         Filed 11/13/15       Page 9 of 15




bearing directly upon the appropriateness of a jury inference.” Id. (citation and quotation

omitted). The court thus could not determine which category the testimony belonged in because

the government had not provided the specific testimony that it intended to introduce. Id. The

same condition exists here. If a party fails to provide an adequate written summary, a court may

order that party to provide the discovery and, if it fails to do so, prohibit the introduction of the

undisclosed evidence, or enter any other order that is just under the circumstances. Hoffecker,

530 F.3d at 185 (citing Fed. R. Crim. P. 16(d)(2)). The Court thus grants defendants’ motion to

the extent that it requests additional disclosures. The Court expects the government to conform

its Rule 16’s disclosures to the discussion presented in this order.

       D. Opinion Versus Personal Experience Testimony

       The Court agrees with the government that to the extent the law enforcement officers will

offer factual—not opinion—testimony that is based on what they have personally observed or

experienced they need not provide a summary to defendants. But, if the officers have used their

specialized “knowledge, skill, experience, training, and education” to draw conclusions and will

give opinions based on their observations, a more fulsome Rule 16 disclosure is required. On

discerning this distinction, the Court finds the following cases instructive.

       In United States v. Garza, the court applied a Rule 702 analysis to expert testimony about

whether the defendant had possessed a gun in connection with a drug trafficking crime. 566 F.3d

at 1198–99. The court determined that this testimony was not scientific in nature, but, instead,

testimony based on specialized knowledge. Id. at 1199. The court also found that the testimony

did not require analysis under the four Daubert factors, but still had to satisfy the relevance and

reliability requirements established by Rule 702. Id. The Garza court’s reliability analysis

focused “upon personal knowledge or experience,” instead of the Daubert factors and scientific



                                                   9
      Case 5:14-cr-40005-DDC             Document 525         Filed 11/13/15        Page 10 of 15




foundation. See Kumho Tire, 526 U.S. at 150; see also First Savings Bank, 117 F. Supp. 2d at

1083 (“Application of the four factors set out in Daubert ‘is unwarranted in cases where expert

testimony is based solely on experience or training.” (quoting Compton v. Subaru of Am., Inc.,

82 F.3d 1513, 1518 (10th Cir. 1996))). The court concluded that police officers “can acquire

specialized knowledge of criminal practices and thus the expertise to opine on such matters as

the use of firearms in the drug trade.” Garza, 566 F.3d at 1199. But when the testimony moves

from factual observations to specialized knowledge about gun use in the drug trade, this is

opinion testimony under Rule 702 and, upon request under Rule 16, requires a summary

disclosure. See id. at 1200 (finding that Rule 16 was not violated because defendant did not

request an expert disclosure notice).

        In United States v. Markum, the Tenth Circuit affirmed the trial court’s ruling that a

firefighter chief was permitted to testify that a second house fire was set deliberately, rather than

the result of a natural rekindling. 4 F.3d 891, 896 (10th Cir. 1993). The firefighter’s experience

and training over 29 years of firefighting qualified him has an expert. Id. The trial court also

found that his testimony was relevant and reliable. Id. The facts relied on to form his opinion

were based on the firefighter’s personal observation and the personal observations of firefighters

who had worked for him and extinguished the first house fire. Id. Again, the court treated his

testimony as opinion testimony, not factual testimony, when he reached the conclusion that the

fire was deliberately set. See id. Here, any analogous opinion testimony would require a Rule

16 summary disclosure.1

        But the Court is mindful that one court has determined that Rule 16 did not apply to an

agent’s testimony that he had never seen an innocent observer accompany a criminal to a drug


1
 United States v. Shepard contains an extensive list of additional scenarios in which the Tenth Circuit has
determined that an expert’s testimony amounted to opinion testimony. 188 F.R.D. at 608.

                                                    10
     Case 5:14-cr-40005-DDC           Document 525        Filed 11/13/15      Page 11 of 15




deal. See United States v. DiMarzo, 80 F.3d 656, 659 (1st Cir. 1996). DiMarzo concluded that

this testimony was a statement of fact, based on the agent’s personal experience. Id. It was not a

lay or expert opinion, but rather “personal experience relating to a subject bearing directly upon

the appropriateness of a jury inference.” Id. Consequently, the government was not obligated to

make a Rule 16 disclosure about this agent’s testimony. See id. Thus, to the extent that the

government plans to offer testimony by law enforcement officers based on factual testimony

from personal experience and observations, no Rule 16 disclosure is required.

       The Court also notes that, contrary to defendants’ view, a law enforcement officer’s

experiences can provide the bases and reasons for expert opinion testimony. See e.g., Garza, 566

F.3d at 1200; Markum, 4 F.3d at 896; United States v. Jensen, No. 1:12-CR-83 TS, 2014 WL

28998, at *2 (D. Utah Jan. 2, 2014). Indeed, the advisory committee’s notes to Rule 702

provide:

       While the terms “principles” and “methods” may convey a certain impression when
       applied to scientific knowledge, they remain relevant when applied to testimony based on
       technical or other specialized knowledge. For example, when a law enforcement agent
       testifies regarding the use of code words in a drug transaction, the principle used by the
       agent is that participants in such transactions regularly use code words to conceal the
       nature of their activities. The method used by the agent is the application of extensive
       experience to analyze the meaning of the conversations. So long as the principles and
       methods are reliable and applied reliably to the facts of the case, this type of testimony
       should be admitted.

Fed. R. Evid. 702 advisory committee’s note (2000).

       Here, the government has provided a list of ten broad topics for all nine law enforcement

officers who may testify:

       (1) the manner in which drug trafficking organizations operate; (2) the source of the
       chemicals being typically China; (3) the methods commonly use in the importation of the
       chemicals; (4) the manner in which the drugs are manufactured; (5) the manner in which
       manufacturers regularly change the chemical compounds of the substances they
       manufacture; (6) the methods and means of distribution, which are often utilized to avoid
       apprehension by law enforcement; (7) the typical packaging for the products, which omit

                                                11
     Case 5:14-cr-40005-DDC          Document 525        Filed 11/13/15      Page 12 of 15




       ingredients, and state "not for human consumption"; (8) the manner in which the drugs
       are marketed as "incense" or other innocuous items, normally used to avoid apprehension
       by law enforcement; (9) their familiarity with the controlled substances and controlled
       substances analogues; and (10) their experience responding to situations involving drug
       overdoses and the manifestations of drug overdoses they have witnessed.

Doc. 302 at 2–3. After reviewing the government’s list, the Court finds that topics one, two,

three, four, six, seven, and nine could amount to testimony that is “simply a witness’s statement

of a personal experience.” Topics five and eight, however, may contain expert opinion

testimony and not personal experience testimony. Unless the testifying officer has personally

experienced seeing “the manner in which manufacturers regularly change the chemical

compounds,” this testimony would constitute expert opinion testimony. Testimony about how

the drugs are marketed as “incense” strikes the Court as similar to testimony about code words.

Such testimony is treated under Rule 702 as opinion testimony that requires a reliability

assessment. See Fed. R. Evid. 702 advisory committee’s note (2000). Finally, the Court views

topic number ten as one subject to exclusion under Federal Rule of Evidence 403, in that its

probative value is substantially outweighed by a danger of unfair prejudice. Admitting such

evidence would require a substantial showing of relevance to a matter in controversy in this case

and, even then, also a showing that other evidence cannot serve this potentially relevant purpose.

       For all topics, whether a witness’s testimony is opinion testimony depends on the specific

testimony and basis for it, which the Court cannot determine from the government’s current

disclosures. The Court thus grants defendants’ motion to the extent that it requests additional

disclosures and directs the government to apply the rules discussed above to comply with Rule

16’s disclosure requirements.




                                                12
     Case 5:14-cr-40005-DDC           Document 525        Filed 11/13/15      Page 13 of 15




       E. What Constitutes an Adequate Rule 16 Notice?

       “‘It is not clear how much detail must be provided to satisfy’” Fed. R. Crim. P.

16(a)(1)(G). United States v. Goxcon-Chagal, 886 F. Supp. 2d 1222, 1253 (D.N.M. 2012)

(quoting 25 J. Moore, Moore’s Federal Practice § 616.05[3], at 616–65 (3d ed. 2012)). While

the Court lacks information to determine the precise contours of the disclosure obligation owed

in this case, it provides the following guidance.

       The Seventh Circuit has found the following notice “barely” to satisfy the requirements

under Rule 16:

       In response to your Request for Written Summary of the Government's Proposed Expert
       Testimony dated December 3, 1993, please be advised that Officers Emmit C. Carney,
       Jerry Cheung, and R.J. Kenney may testify at trial concerning the use of beepers,
       firearms, walkie-talkies, and Western Union wire transfers in connection with the sale of
       narcotics. In addition, each of these officers may testify that narcotics traffickers often
       secure locations such as houses or apartments to serve as a base for dealing narcotics.
       Each of these police officers will base their testimony on their years of training and
       experience in the area of drug investigations.

United States v. Jackson, 51 F.3d 646, 650–51 (7th Cir. 1995). There are also examples of

notices found adequate in this Circuit. See Goxcon-Chagal, 886 F. Supp. 2d at 1253–54

(describing notice that set out the general subject matter of the proposed testimony, the expert’s

background, that he would testify about drug value and that the evidence indicates the defendants

intended to distribute drugs, and the basis for his testimony); Biglow, 2012 WL 887485, at *1

(finding supplemental disclosures were not necessary after reviewing the government’s

disclosures which described individually what each officer may testify about); Tunkara, 385 F.

Supp. 2d at 1120–21 (finding that inadequate boilerplate disclosure for drug trafficking case was

cured by government’s response highlighting the expert testimony it expected to offer from

highway patrol troopers).




                                                    13
     Case 5:14-cr-40005-DDC           Document 525        Filed 11/13/15      Page 14 of 15




       The New Jersey federal district court has found insufficient a notice disclosing the

general subjects an expert would testify about and that the expert would testify that the

defendant’s actions were “beyond the bounds of medical practice.” See Durante, 2012 WL

503657, at *1–2. Even after the government supplemented its disclosures with more information

indicating somewhat more explicitly how the expert’s opinions applied to defendant’s conduct,

the court found that this “hardly constituted a summary” of his testimony, “nor was it a

description of the witness’s opinions and the basis and reasons for those opinions.” Id. at *2

(internal quotation omitted). Finally, Durante found that the government had satisfied its Rule

16 notice requirement when it disclosed the specific opinions that the expert would offer at trial

and a fully-developed discussion of the basis and reasons for those opinions. Id.

       The Court again directs the government to review these cases when making its Rule 16

disclosures.

       F. Conclusion

       While the government’s initial disclosures did not contain the detail required by Rule 16,

they did notify defendants of the subject matter of the testimony and the identity of the law

enforcement experts. In the Court’s view, if the government provides more detailed summaries,

as Rule 16 requires, the defendants will have adequate time to consider the proposed testimony

before trial. Therefore, the Court declines to rule the putative law enforcement testimony is

inadmissible, but grants, in part and as explained in this order, defendants’ motion to the extent

that additional disclosures under Rule 16 are required by the government.

       IT IS THEREFORE ORDERED BY THE COURT THAT the defendants’ Motion to

Exclude Law Enforcement Testimony (Doc. 478) is granted in part and denied in part, as

described in this order.



                                                14
Case 5:14-cr-40005-DDC     Document 525       Filed 11/13/15    Page 15 of 15




 IT IS SO ORDERED.

 Dated this 13th day of November, 2015, at Topeka, Kansas.


                                          s/ Daniel D. Crabtree
                                          Daniel D. Crabtree
                                          United States District Judge




                                     15
